              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION
           CRIMINAL CASE NO. 3:07-cr-00211-MR-WCM-1


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
     vs.                        )                    ORDER
                                )
MICHAEL D. PAHUTSKI,            )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court on the Defendant’s “Emergency

Motion for Compassionate Release Pursuant to 18 U.S.C. § 3582(c)(1)(A).”

[Doc. 548].

I.   BACKGROUND

     In 2008, the Defendant Michael D. Pahutski was charged in a

superseding indictment with conspiracy to violate the laws of the United

States by conspiring to commit mail, wire, and bank fraud and conspiring to

make false statements to a bank, in violation of 18 U.S.C. § 371 (Count 1);

three counts of mail fraud, in violation of 18 U.S.C. §§ 1341, 1346 (Counts

2, 3, and 4); eight counts of bank fraud, in violation of 18 U.S.C. §§ 1344,

1346 (Counts 5, 6, 7, 8, 9, 10, 11, 12); seven counts of making a false

statement to a bank, in violation of 18 U.S.C. § 1014 (Counts 13, 14, 16, 18,


       Case 3:07-cr-00211-MR Document 552 Filed 10/29/21 Page 1 of 12
20, 22, 23); conspiring to commit money laundering, in violation of 18 U.S.C.

§ 1956(h) (Count 24); and promotional money laundering, in violation of 18

U.S.C. § 1957. (Count 27).       [Doc. 117: Indictment at 8-22, 25].       The

Defendant, who was a mortgage broker, had participated in a multi-million

dollar mortgage-fraud conspiracy involving the “flipping” of more than 200

properties from an owner to a third party who quickly re-sold the property to

another party at a vastly inflated price. [Doc. 344: PSR at ¶¶ 10, 33]. In

furtherance of the conspiracy, the Defendant prepared 190 false loan

applications, many of which included false bank-account statements or false

tax returns that the Defendant prepared. [Id. at ¶¶ 11, 33]. The Defendant’s

co-conspirators served as the “borrowers” for the transactions, prepared

inflated appraisals of the properties to be sold, and handled the legal closings

of the properties. [Id. at ¶¶ 11-16]. In March 2009, the Defendant pleaded

guilty to each of the charged offenses without a plea agreement. [Doc. 188:

Acceptance and Entry of Guilty Plea].

      In preparation for sentencing, the probation office prepared a

Presentence Report. [Doc. 344: PSR]. The PSR calculated a total offense

level of 36 and a criminal-history category of I, which resulted in an advisory

Guidelines range between 188 and 235 months in prison. [Id. at ¶ 69]. In


                                       2



       Case 3:07-cr-00211-MR Document 552 Filed 10/29/21 Page 2 of 12
May 2011, this Court sentenced the Defendant to 60 months on Count 1;

228 months on each of Counts 2-14, 16, 18, 20, 22, 23, and 24; and 120

months on Count 27, with all such counts to run concurrently for a total of

228 months’ imprisonment. [Doc. 398: Judgment at 3]. The Court further

ordered the Defendant to pay $3,563,125.27 in restitution. [Id. at 5].

         The Defendant appealed to the Fourth Circuit Court of Appeals. On

appeal, counsel filed a brief pursuant to Anders v. California, 386 U.S. 738

(1967), asserting that there were no meritorious grounds for appeal but

questioning whether this Court erred in denying the Defendant’s motion to

withdraw his guilty plea, whether this Court properly calculated the loss

amount, and whether the Defendant had received effective assistance of

counsel.     [See Doc. 425: Fourth Circuit Order].     The Defendant filed a

supplemental pro se brief in which he asserted the same errors raised by

appellate counsel, but also arguing: that the Government was vindictive and

malicious in its prosecution of him; that his constitutional rights to due

process and a fair and speedy trial were violated; and that his right to

examine all of the evidence against him was violated. [Id.]. The Fourth

Circuit affirmed the Defendant’s convictions and sentence in all respects.

[Id.].


                                        3



          Case 3:07-cr-00211-MR Document 552 Filed 10/29/21 Page 3 of 12
      In May 2012, the Defendant filed a motion to vacate his convictions

and sentences under 28 U.S.C. § 2255, raising a number of issues

challenging the effectiveness of counsel, the sufficiency of the evidence, and

the validity of his guilty plea, but notably not asserting a claim of actual

innocence. [Doc. 428: Motion to Vacate]. This Court denied the Defendant’s

motion to vacate in May 2014. [Doc. 486: Order].

      In May 2015, the Defendant filed a motion in the Fourth Circuit under

28 U.S.C. § 2244, seeking authorization to file a second or successive

motion to vacate on the grounds that (1) his conduct was not criminal under

Skilling v. United States, 561 U.S. 358 (2010), and (2) his trial and appellate

counsel provided constitutionally deficient representation. [Fourth Cir. Case

No. 15-177 at 3]. The Fourth Circuit denied the Defendant’s motion two

weeks later.

      The Defendant now asks this Court to grant him compassionate

release, arguing that he is actually innocent of his offense under Skilling and

that his medical conditions warrant his immediate release. [Doc. 548 at 4-

5].   The Court directed the Government to respond to the Defendant’s

motion. [Text-Only Order dated July 14, 2021]. The Government filed its




                                      4



       Case 3:07-cr-00211-MR Document 552 Filed 10/29/21 Page 4 of 12
Response on August 12, 2021. [Doc. 740]. The Defendant subsequently

filed a Reply. [Doc. 550; as corrected, Doc. 551].

         The Defendant is presently incarcerated at FCI Petersburg Low, and

his projected release date is July 3, 2027.1 While in the Bureau of Prisons,

the Defendant has committed one disciplinary infraction and has participated

in 14 educational programs or work assignments. [Doc. 549-1: BOP

Records]. He has 141 months of credited time. [Id.].

II.      DISCUSSION

         Section 3582(c)(1)(A), as amended by The First Step Act of 2018, Pub.

L. No. 115-391, 132 Stat. 5194, 5239 (Dec. 21, 2018), permits a defendant

to seek a modification of his sentence for “extraordinary and compelling

reasons,” if the defendant has “fully exhausted all administrative rights to

appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s

behalf or the lapse of 30 days from the receipt of such a request by the

warden of the defendant’s facility, whichever is earlier.”              18 U.S.C. §

3582(c)(1)(A). Here, the Government concedes that the Defendant has

sufficiently exhausted his administrative remedies with BOP by requesting



1   See https://www.bop.gov/inmateloc/ (last visited Sept. 27, 2021).


                                              5



          Case 3:07-cr-00211-MR Document 552 Filed 10/29/21 Page 5 of 12
compassionate release from the Warden. [Doc. 549 at 3]. Accordingly, the

Court will proceed to address the merits of the Defendant’s compassionate

release request.

      As is relevant here, the Court may reduce a defendant’s sentence

under 18 U.S.C. § 3582(c)(1)(A)(i) for “extraordinary and compelling reasons

if “such reduction is consistent with applicable policy statements issued by

the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A)(i). The Court must

also consider the factors set forth in 18 U.S.C. § 3553(a), to the extent that

such factors are applicable. Id.

      Section 1B1.13 of the United States Sentencing Guidelines sets forth

the Sentencing Commission’s policy statement applicable to compassionate

release reductions.   See U.S.S.G. § 1B1.13.       As is relevant here, the

application note to § 1B1.13 specifies the types of medical conditions that

qualify as “extraordinary and compelling reasons.” First, that standard is met

if the defendant is “suffering from a terminal illness,” such as “metastatic

solid-tumor cancer, amyotrophic lateral sclerosis (ALS), end-stage organ

disease, [or] advanced dementia.” U.S.S.G. § 1B1.13, cmt. n.1(A)(i).

Second, the standard is met if the defendant is:

            (I) suffering from a serious physical or medical
            condition,

                                      6



       Case 3:07-cr-00211-MR Document 552 Filed 10/29/21 Page 6 of 12
            (II) suffering from a serious functional or cognitive
            impairment, or

            (III) experiencing deteriorating physical or mental
            health because of the aging process,

            that substantially diminishes the ability of the
            defendant to provide self-care within the environment
            of a correctional facility and from which he or she is
            not expected to recover.

U.S.S.G. § 1B1.13, cmt. n.1(A)(ii). This policy statement, however, was

adopted before the First Step Act, and the Sentencing Commission has not

updated the policy statement to account for the fact that defendants are now

permitted to file their own motions for compassionate release. In light of

these circumstances, the Fourth Circuit Court of Appeals held in United

States v. McCoy that § 1B1.13 is no longer an “applicable” policy statement

that constrains the discretion of the district courts in finding that

“extraordinary and compelling reasons” exists to warrant a reduction in

sentence. 981 F.3d 271, 282 (4th Cir. 2020) (“By its plain terms, . . . § 1B1.13

does not apply to defendant-filed motions under § 3582(c)(1)(A)”). Thus, this

Court is “empowered . . . to consider any extraordinary and compelling

reason for release that a defendant might raise.” Id. at 284 (quoting United

States v. Zullo, 976 F.3d 228, 230 (2d Cir. 2020)). Nevertheless, the Court


                                       7



       Case 3:07-cr-00211-MR Document 552 Filed 10/29/21 Page 7 of 12
recognized, that the policy statement “remains helpful guidance even when

motions are filed by defendants.” Id. at 282 n.7. Further, Congress has

made clear that rehabilitation of the defendant alone “shall not be considered

an extraordinary and compelling reason” for a modification. 28 U.S.C. §

994(t). Ultimately, the Defendant bears the burden of establishing that he is

eligible for a sentence reduction. United States v. Jones, 836 F.3d 896, 899

(8th Cir. 2016); United States v. Green, 764 F.3d 1352, 1356 (11th Cir.

2014).

      In McCoy, the Fourth Circuit recognized that a district court may “treat[]

as [an] ‘extraordinary and compelling reason[]’ for compassionate release

the severity of the [defendant’s] § 924(c) sentences and the extent of the

disparity between the [defendant’s] sentences and those provided for under

the First Step Act.” 981 F.3d at 286. In so doing, the court must make an

individualized   determination    that   the   defendant   has   identified   an

extraordinary    and    compelling   reason     for   compassionate    release,

considering, for example, the length of time already served, any rehabilitative

efforts made during the defendant’s time in the Bureau of Prisons, the

defendant’s prior criminal history, and the defendant’s age at the time he

committed his offenses. See id.


                                         8



         Case 3:07-cr-00211-MR Document 552 Filed 10/29/21 Page 8 of 12
      Here, the Defendant has not alleged that he satisfies any of the criteria

for compassionate release authorized in section 1B1.13, nor has he alleged

any disparity between the sentence he received and the sentence “provided

for under the First Step Act.” McCoy, 981 F.3d at 286. Instead, he asks this

Court to exercise its discretion to grant him compassionate release because

his offense conduct is not criminal under Skilling v. United States, 561 U.S.

358 (2010), and because he suffers from health conditions that present a

high risk of serious consequences should he contract COVID-19. [Doc. 548

at 4-5].

      The Defendant’s contention that he is actually innocent of his fraud

offenses under Skilling is not an extraordinary and compelling reason to

grant compassionate release. If the Defendant had a valid claim of actual

innocence under Skilling, he had ample opportunity to present that claim.

The Supreme Court decided Skilling in June 2010, after the Defendant pled

guilty but almost a year before he was sentenced in May 2011.               The

Defendant could have challenged the legality of his convictions before this

Court and on direct appeal or in his motion to vacate. The Defendant,

however, did none of those things. A defendant cannot use compassionate

release to circumvent the law that governs when and how defendants can


                                         9



           Case 3:07-cr-00211-MR Document 552 Filed 10/29/21 Page 9 of 12
seek relief for legal errors they allege. Defendant’s Motion is, in substance,

an attempt to circumvent the limitation on successive § 2255 motions by

dressing his claim as one seeking compassionate release.

      Even if the Defendant had a valid claim of actual innocence of his fraud

convictions under Skilling, he is serving multiple concurrent sentences

unrelated to his Skilling claim. The Defendant was sentenced to concurrent

228-month sentences for 11 fraud offenses, seven false-statement offenses,

and one money-laundering offense. [See Doc. 398: Judgment at 1-3]. As

such, his claim of actual innocence as to only some of his convictions cannot

constitute an extraordinary and compelling reason justifying his immediate

release.

      As for the Defendant’s argument about his medical condition and his

potential risk of serious illness or death from COVID-19, the Defendant has

failed to identify any medical issues that warrant the extraordinary relief of

compassionate release.      The Defendant asserts that he suffers from

hypertension, obesity, and an abnormal heart rhythm, all of which he alleges

expose him to more serious medical consequences should he contract

COVID-19. The Bureau of Prisons, however, has administered more than

200,000 vaccine doses, and although the Defendant does not indicate


                                     10



      Case 3:07-cr-00211-MR Document 552 Filed 10/29/21 Page 10 of 12
whether he has received the vaccine, nearly 400 members of the staff and

over 2,000 inmates at his facility have received the vaccine.2 Because the

vaccine is now widely available and reduces the chances that even inmates

with conditions such as hypertension and obesity will suffer serious

consequences from COVID-19, the Defendant’s health conditions do not

constitute an extraordinary and compelling reason to grant him

compassionate release.

      Even if the Defendant could establish an extraordinary and compelling

reason for his release, this Court still must consider the § 3553(a) factors, as

“applicable,” as part of its analysis of determining whether a sentence

reduction is warranted. See § 3582(c)(1)(A); United States v. Chambliss,

948 F.3d 691, 694 (5th Cir. 2020). The Defendant’s offense conduct was

extensive and serious, and he caused his victims millions of dollars of loss.

Additionally, the Defendant’s efforts at rehabilitation have been modest, at

best. In the nearly ten years he has been imprisoned, he has completed only

eleven educational programs or work assignments. While the Defendant

suggests that his sentence is unjustifiably higher than his co-defendants’



2  See BOP COVID-19 Response, https://www.bop.gov/coronavirus/ (vaccinations
statistics for FCC Petersburg) (last visited Sept. 29, 2021).

                                      11



      Case 3:07-cr-00211-MR Document 552 Filed 10/29/21 Page 11 of 12
sentences, his sentence was within the range advised by the Sentencing

Guidelines and the nature and circumstances of his offense conduct, the

need to protect the public, the need for deterrence, and the need to promote

respect for the law all counsel in favor of a Guidelines sentence.

     In sum, the Court finds that there are no “extraordinary and compelling

reasons” for the Defendant’s release and that analysis of the relevant §

3553(a) factors continue to weigh in favor of his continued incarceration.

Accordingly, the Defendant’s Motion for Compassionate Release is denied.

     IT IS, THEREFORE, ORDERED that the Defendant’s “Emergency

Motion for Compassionate Release Pursuant to 18 U.S.C. § 3582(c)(1)(A)”

[Doc. 548] is DENIED.

     IT IS SO ORDERED.


                             Signed: October 28, 2021




                                        12



      Case 3:07-cr-00211-MR Document 552 Filed 10/29/21 Page 12 of 12
